
717 S.E.2d 746 (2011)
STATE of North Carolina
v.
Toby LEONARD.
No. 360P11.
Supreme Court of North Carolina.
October 6, 2011.
Kimberly A. D'Arruda, Assistant Attorney General, for State of North Carolina.
Toby Leonard, for Leonard, Toby.
C. Colon Willoughby, Jr., District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 22nd of August 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th of October 2011."
